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                     IN THE UNITED STATES DISTRICT COURT FOR THE
                              WESTERN DISTRICT OF TEXAS
                                   EL PASO DIVISION



LEAGUE OF UNITED LATIN AMERICAN
CITIZENS, et al.,

                  Plaintiffs,
                                                                   CIVIL ACTION NO.
v.                                                             3:21-cv-00259-DCG-JES-JVB
                                                             [Consolidated Action: Lead Case]
GREG ABBOTT, in his official capacity as
Governor of the State of Texas, et al.,

                  Defendants.


    JOINT MOTION OF PLAINTIFFS LULAC, ET AL. ABUABARA ET AL., AND TEXAS
       NAACP TO COMPEL PRODUCTION OF DOCUMENTS FROM DEFENDANT
                                 ABBOTT

          Plaintiffs LULAC, et al., Abuabara, et al. and Texas NAACP (collectively, “Plaintiffs”)

brought suit to challenge the redistricting plans recently enacted by the Texas Legislature,

alleging violations of the Voting Rights Act and the United States Constitution.1 Plaintiffs allege,

among other things, that the Texas Legislature enacted the redistricting plans with the intent to

discriminate against racial minorities, and assert that the totality of circumstances shows that

those minorities have less opportunity to participate in the political process and to elect

representatives of their choice. To that end, Plaintiffs served their requests for production of

documents on Defendant Greg Abbott.

          Based on sweeping claims of privilege, Abbott withheld a number of responsive

documents that fell into two categories: (1) documents related to Abbott’s proclamation calling

the special legislative session in which the Texas Legislature enacted the challenged redistricting

1
    Abuabara Plaintiffs bring claims under only the Voting Rights Act. Dkt. 356.


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legislation, and (2) documents related to draft redistricting legislation. However, Abbott—a

member of the executive branch—has shared several of these documents with the legislative

branch, and many of these documents were created to aid in calling the third special session or in

enacting legislation—not for or in anticipation of litigation. Accordingly, the privileges Abbott

asserts over those documents do not apply—or if they ever did, they have since been waived.

          After multiple “meet and confer” exchanges between the parties and correspondence

outlining Plaintiffs’ positions did not resolve the parties’ dispute, Plaintiffs now respectfully

request that the Court compel disclosure of those documents. See Ex. A.

                                         I.    BACKGROUND

          On March 3, 2022, Texas NAACP served its first set of document requests on Abbott.

Ex. B. On March 5, 2022, LULAC Plaintiffs served their first set of requests for production of

documents on Abbott. Ex. C. On March 17, 2022, Abuabara Plaintiffs served their first set of

requests for production on Abbott. Ex. D.

          On April 4, 2022, Abbott responded to LULAC Plaintiffs’ discovery requests with a

letter asserting various objections to those requests, including broad claims of the legislative

privilege, deliberative-process privilege, attorney-client privilege, and protection from disclosure

under Texas Government Code § 323.017. Ex. E.2 LULAC Plaintiffs responded with their own

letter on April 26, 2022, refuting, among other things, the basis for the assertion of legislative

privilege, the deliberative-process privilege, and protection under Texas Government Code §

323.017. Ex. G. LULAC Plaintiffs explained that Abbott lacked standing or the ability to

invoke the legislative privilege, that Abbott could not invoke the deliberative-process privilege

over the context of legislation, and that Texas Government Code § 323.017 did not apply

because the instant suit arises under federal law. See id.
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    Defendants similarly responded to Texas NAACP’s document requests on April 4, 2022. Ex. F.


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         On April 18, 2022, Abbott served his responses to Abuabara Plaintiffs’ first set of

requests for production. Ex. H. In his responses, Abbott asserted claims of legislative privilege,

deliberative-process privilege, attorney-client privilege, attorney work-product privilege, and

protection from disclosure by Texas Government Code § 323.017. See id. On April 22, 2022,

Abuabara Plaintiffs and Defendants held their first meet and confer regarding Abbott’s

objections to Abuabara Plaintiffs’ discovery requests, and Defendants stated that they would

provide privilege logs detailing any documents withheld based on their various privilege

objections within 30 days of the associated production.

         On April 28, 2022, LULAC Plaintiffs and Defendants held a meet and confer regarding

Abbott’s objections to their discovery requests, during which Defendants emphasized that

LULAC Plaintiffs’ concerns were “largely academic” and indicated that their forthcoming

privilege log would provide more information regarding their objections. During that meeting,

LULAC Plaintiffs reiterated the arguments in their letter and stated that they would revisit those

concerns upon reviewing Defendants’ privilege log.

         On May 3, 2022, Abuabara Plaintiffs served their second set of requests for production.

Ex. I.

         On May 4, 2022, Abbott served his initial privilege log to LULAC Plaintiffs and Texas

NAACP. Ex. J. In that log—which lacked details regarding several of the fields required under

the parties’ Stipulated Order Regarding Discovery of Electronically Stored Information

(“Stipulated ESI Agreement”) (Dkt. 203) and failed to comply with the requirements of Federal

Rule of Civil Procedure 26(b)(5)—Abbott asserted at least one of the following privileges over

each withheld document:       the legislative privilege, the deliberative-process privilege, the

attorney-client privilege, and the work product doctrine. Id. On May 12, 2022, counsel for




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LULAC Plaintiffs, Texas NAACP, and Defendants met and conferred regarding Abbott’s

objections in his privilege log, and LULAC Plaintiffs and Texas NAACP agreed to follow up

with a letter further elaborating on their concerns with the objections asserted by Abbott.

       On May 16, 2022, LULAC Plaintiffs and Texas NAACP sent their follow-up letter to

Defendants. Ex. K. In that letter, LULAC Plaintiffs and Texas NAACP noted that Abbott’s

initial privilege log failed to comply with the requirements of Rule 26(b)(5), as it failed to

provide sufficient information to enable LULAC Plaintiffs and Texas NAACP to assess Abbott’s

privilege claims, and it failed to comply with the parties’ Stipulated ESI Agreement because it

lacked, among other things, all authors, senders, recipients, dates of creation, and bases for

privileges asserted. Id. at 3–4. LULAC Plaintiffs and Texas NAACP also identified specific

documents Abbott improperly withheld in LULAC Plaintiffs’ April 26, 2022 letter regarding the

legislative privilege, the deliberative-process privilege, and Texas Government Code § 323.017.

See id. at 5–11. And they argued that the attorney-client privilege and the work product doctrine

did not apply, for the same reasons articulated below. See id. at 7–11.

       On May 18, 2022, Abbott served his initial privilege log on Abuabara Plaintiffs. Ex. L.

Abbott’s privilege log provided to the Abuabara Plaintiffs is identical to that provided to LULAC

Plaintiffs and Texas NAACP, and it fails to comply with the requirements of the Federal Rule of

Civil Procedure 26(b)(5) for the same reasons.

       On May 19, 2022, Abuabara Plaintiffs and Defendants had a second meet and confer to

further discuss the issues raised in their first meet and confer. During that meeting, Defendants

stated their intent to supplement their responses to Abuabara Plaintiffs’ first set of requests for

production along with responses to the second set of requests for production. On June 2, 2022,




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Defendants served their supplemental discovery responses and responses to Abuabara Plaintiffs’

second set of discovery requests.

       On May 25, 2022, Abbott emailed a supplemental privilege log (the “Supplemental

Privilege Log”) to LULAC Plaintiffs and Texas NAACP. Exs. M and N. In that email, Abbott

offered just two paragraphs of substance: one that acknowledged that the Supplemental Privilege

Log still lacked information required under the Stipulated ESI Agreement, and the other that

“briefly address[ed]” LULAC Plaintiffs’ and Texas NAACP’s arguments regarding each

privilege Abbott asserted in their 13-page May 16, 2022 letter. See Ex. N. Regarding his

assertions of the legislative and deliberative-process privileges, Abbott argued that those

privileges applied to “documents and communications relating to the Governor’s constitutional

authority to call special sessions of the legislature.” Id. Abbott also explained, presumably as

support for asserting the attorney-client privilege and work product doctrine, that “in many

instances, lawyers from the Governor’s office gave legal advice on the content of the documents

and communications, and the legality of the actions pursued.” Id.

       On June 22, 2022, counsel for Plaintiffs emailed counsel for Defendants to attempt one

final meet and confer before filing the instant motion. After conferring by email, counsel for

Plaintiffs and Defendants agreed on June 24, 2022 that they could not resolve their disagreement

over the documents at issue in the instant motion. Ex. O.

       After repeated meet and confer exchanges and multiple correspondence to address their

substantive concerns regarding each basis upon which Abbott withholds documents, and in the

face of Abbott’s conclusory assertions of each privilege, Plaintiffs now seek to compel the

production of all but four of the documents Abbott has listed in his Supplemental Privilege Log.

Exhibit A lists the documents Plaintiffs seek in the instant motion.




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                                   II.       LEGAL STANDARD

       “A party seeking discovery may move for an order compelling an answer, designation,

production, or inspection” if the other party “fails to produce documents or fails to respond that

inspection will be permitted—or fails to permit inspection—as requested under Rule 34.” Fed.

R. Civ. P. 37(a)(3)(B)(iv). Rule 34 permits parties to serve upon each other “a request within the

scope of Rule 26(b)” to produce certain items “in the responding party’s possession, custody, or

control.” Fed. R. Civ. P. 34(a)(1). “Parties may obtain discovery regarding any nonprivileged

matter that is relevant to any party’s claim or defense and proportional to the needs of the case.”

Fed. R. Civ. P. 26(b)(1).

       Rule 26 requires a party that asserts a privilege to “describe the nature of the documents,

communications, or tangible things not produced or disclosed—and to do so in a manner that,

without revealing information itself privileged or protected, will enable other parties to assess the

claim.” Fed. R. Civ. P. 26(b)(5)(A)(ii). “It is well settled that the party asserting the privilege

has    the   burden     of    establishing    its       applicability.”   Perez   v.   Perry,    No.

SA-11-CV-360-OLG-JES-XR, 2014 WL 3495414, at *2 (W.D. Tex. July 11, 2014) (citing

Hodges, Grant & Kaufman v. United States, 768 F.2d 719, 721 (5th Cir. 1985)). Conclusory

assertions are “insufficient to carry out the proponent’s burden of establishing” privilege.

E.E.O.C. v. BDO USA, L.L.P., 876 F.3d 690, 696 (5th Cir. 2017).

       When a motion to compel “is granted—or if the disclosure or requested discovery is

provided after the motion was filed—the court must, after giving an opportunity to be heard,

require the party . . . whose conduct necessitated the motion, the party or attorney advising that

conduct, or both to pay the movant’s reasonable expenses incurred in making the motion,

including attorney’s fees.” Fed. R. Civ. P. 37(a)(5)(A).




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                                         III.    ARGUMENT

            A. Abbott is not a Legislator and Thus Cannot Withhold Documents Based on
               the Legislative Privilege.

                    1. Abbott Cannot Invoke the Legislative Privilege on Behalf of Legislators.

        Abbott inappropriately asserts the legislative privilege over several documents in the

Supplemental Privilege Log.3 Abbott, however, lacks standing to assert the legislative privilege.

        “State legislative privilege is a federal common law privilege, ‘applied through Rule 501

of the Federal Rules of Evidence.’”4 Dkt. 282 at 2 (quoting Jefferson Cmty. Health Care Ctrs.,

Inc. v. Jefferson Parish Gov’t, 849 F.3d 615, 624 (5th Cir. 2017)). “The privilege ‘is, at best, one

which is qualified.’” Id. (quoting Jefferson Cmty., 849 F.3d at 624). To that end, the privilege

“must be strictly construed and accepted only to the very limited extent that permitting a refusal

to testify or excluding relevant evidence has a public good transcending the normally

predominant principle of utilizing all rational means for ascertaining the truth.” Id. (quoting

Jefferson Cmty., 849 F.3d at 624).

        Courts in this Circuit—including the three-judge court in the last round of redistricting

litigation in Texas—have consistently held that “neither the Governor, nor the Secretary of State

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  Of the documents Plaintiffs seek, Abbott asserts the legislative privilege over:          DOC_356555,
DOC_0356556, DOC_0356557, DOC_0356560, DOC_0356561, DOC_0356569,                           DOC_0356571,
DOC_0356578, DOC_0356579, DOC_0356580, DOC_0356581, DOC_0356582,                           DOC_0356583,
DOC_0356584, DOC_0356585, DOC_0356590, DOC_0356591, DOC_0356592,                           DOC_0356593,
DOC_0356598, DOC_0356600, DOC_0356604, DOC_0356606, DOC_0356609, and                       DOC_0356610.
Ex. A.
4
  At various points, Defendants have asserted that Texas Government Code § 323.017 governs the scope
of the legislative privilege. See, e.g., Ex. E at 8. However, the Texas Government Code is irrelevant to
any analysis of the privilege here. As the Court previously emphasized, the state legislative privilege is a
federal common law privilege, applied through Federal Rule of Evidence 501. Dkt. 282 at 2. Rule 501
“provides that federal common law of privilege applies in general in federal cases.” Hobart v. City of
Stafford, 784 F. Supp. 2d 732, 764 n.22 (S.D. Tex. 2011); see also TitleMax of Tex., Inc. v. City of Dallas,
No. 3:21-cv-1040-S-BN, 2022 WL 326566, at *2 (N.D. Tex. Feb. 3, 2022). The instant suits are pending
in federal court and arise under federal causes of action. Accordingly, “the Court must apply the federal
common law as to the legislative privilege.” TitleMax, 2022 WL 326566, at *4. As such, Texas
Government Code § 323.017 is inapplicable here.


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or the State of Texas has standing to assert the legislative privilege on behalf of any legislator or

staff member.” Perez v. Perry, No. SA-11-cv-360, 2014 WL 106927, at *1 (W.D. Tex. Jan. 8,

2014); see also La Union Del Pueblo Entero (LUPE) v. Abbott, No. SA-21-CV-00844-XR, 2022

WL 1667687, at *2 (W.D. Tex. May 25, 2022), appeal docketed sub nom. LULAC v. Hughes, No.

22-50435 (5th Cir. May 27, 2022); Gilby v. Hughes, 471 F. Supp. 3d 763, 768 (W.D. Tex. 2020);

TitleMax of Tex., Inc. v. City of Dallas, No. 3:21-cv-1040, 2022 WL326566, at *6 (N.D. Tex.

Feb. 3, 2022). That is because the “privilege is a personal one and may be waived or asserted”

only by each individual legislator. Gilby, 471 F. Supp. 2d at 767. Just as in those cases, Abbott

cannot invoke the legislative privilege here.

       Moreover, even if Abbott could invoke the legislative privilege on behalf of a legislator

or legislative staff—and as just discussed, he cannot—that privilege has been waived. Each of

the purportedly privileged documents has necessarily been shared with Abbott, who is a member

of the executive branch, not of the legislative branch—otherwise they would not be in Abbott’s

possession, custody, or control, and thus would not appear on his privilege log. See Tex. Const.

art. IV, § 1 (“The Executive Department of the State shall consist of a Governor,” among others).

After all, “[t]o the extent . . . that any legislator, legislative aide, or staff member had

conversations or communications with any outsider (e.g. party representatives, non-legislators, or

non-legislative staff), any privilege is waived as to the contents of those specific

communications.” Perez, 2014 WL 106927, at *2; Gilby, 471 F. Supp. 3d at 767; Favors v.

Cuomo, 285 F.R.D. 187, 212 (S.D.N.Y. 2012) (noting that “communications with

‘knowledgeable outsiders’ . . . fall outside the privilege”). As such, “the legislative privilege is

waived when a state legislator communicates with executive branch officials.” LUPE, 2022 WL

1667687, at *4; see also Perez, 2014 WL 106927, at *2. Because the documents were shared




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with the Office of the Governor—i.e., with executive branch officials—any claim of legislative

privilege has been waived.

                    2. Abbott Cannot Invoke the Legislative Privilege on His Own Behalf.

         Abbott has also asserted, mistakenly, that he can invoke the legislative privilege on his

own behalf. Abbott has argued that “the requested production directly relates to legislative

activities” and therefore “is subject to legislative privilege,” Ex. E at 3, and has stated that the

privilege applies because those “documents and communications relat[e] to the Governor’s

constitutional authority to call special sessions of the legislature,” Ex. N. But Abbott is wrong.

         As an initial matter, to support the proposition that the legislative privilege applies to a

member of the executive branch, Abbott mistakenly conflates legislative immunity and legislative

privilege, applying case law regarding the former to the latter. See, e.g. Ex. E at 3, 17, 22. But

as the Court recently noted, the two are distinct concepts, and case law regarding legislative

immunity does not apply to the legislative privilege. Dkt. 282 at 2; see also Jefferson Cmty., 849

F.3d at 624 (citing Perez, 2014 WL 106927, at *2). Accordingly, Abbott cannot invoke the

legislative privilege on this basis. See Dkt. 282 at 2; see also LUPE, 2022 WL 1667687, at *5

(“As legislative immunity and legislative privilege are distinct concepts, the Court declines to

extend the privilege to executive branch officials assisting the drafting of legislation.”).

         Further, to the extent that Abbott claims that he may invoke the legislative privilege

because the documents he withholds relate to his performance of a legislative function, he has

failed to establish that he or any member of his office performed such a function with respect to

the communications at issue. Abbott invokes the legislative privilege for certain documents and

communications in two non-overlapping categories: (1) documents he claims are related to

“draft redistricting legislation,”5 and (2) documents he claims are related to his constitutional
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    DOC_0356598, DOC_0356600, and DOC_0356606.


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authority to call special sessions of the Legislature, including the drafting of a proclamation to

call the third special session.6

        Abbott, however, cannot show that he performs any legislative function. Abbott is a

member of the executive branch who, under the Texas Constitution, lacks any enumerated

functions regarding the “Legislative power of” Texas. See Tex. Const. art. III, § 1. Any activity

that Abbott engages in related to legislation is therefore, by definition, executive rather than

legislative under the Texas Constitution.

        Regarding the first set of documents, Abbott has no authority to legislate, and he

therefore performs no legislative function in communicating about draft legislation. The Texas

Constitution is explicit: “The powers of the Government of the State of Texas shall be divided

into three distinct departments . . . and no person, or collection of persons, being of one of these

departments, shall exercise any power properly attached to either of the others, except in the

instances herein expressly permitted.” Tex. Const. art. II, § 1. The Texas Constitution also states

that “[t]he Legislative power of this State shall be vested in a Senate and House of

Representatives,” Tex. Const. art. III, § 1, whereas the Governor is a member of the executive

branch, Tex. Const. art. IV, § 1. In other words, the Governor has no constitutional authority to

legislate—indeed, the Texas Constitution proscribes any such authority. See In re Dean, 393

S.W.3d 741, 747 (Tex. 2012) (“The separation of powers doctrine prohibits one branch of

government from exercising a power belonging inherently to another.”). That includes the

redistricting context: as the Supreme Court of Texas recently emphasized, “[i]n apportioning

legislative districts, the Legislature is exercising its legislative power to make laws, not ‘a power


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 DOC_356555, DOC_0356556, DOC_0356557, DOC_0356560, DOC_0356561, DOC_0356569,
DOC_0356571, DOC_0356578, DOC_0356579, DOC_0356580, DOC_0356581, DOC_0356582,
DOC_0356583, DOC_0356584, DOC_0356585, DOC_0356590, DOC_0356591, DOC_0356592,
DOC_0356593, DOC_0356604, DOC_0356609, and DOC_0356610.


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ordinarily and intrinsically belonging to another department of the government.’” Abbott v.

MALC, No. 22-0008, slip op. at 34 (Tex. Jun. 24, 2022) (quoting Walker v. Baker, 196 S.W.2d

324, 328 (Tex. 1946)), available at: https://www.txcourts.gov/media/1454472/220008.pdf. As

such, “[c]ommunications received by the [Governor] from legislators looking to obtain guidance

in formulating legislation are not meaningfully different from communications received by

constituents from legislators or communications received by lobbyists, think-tanks, or any

outsider.” Gilby, 471 F. Supp. 3d at 768; see also LUPE, 2022 WL 1667687, at *6 (noting that

the withholding party had “not shown that the communications at issue involved any . . .

legislative functions. Rather, the communications involve the Lieutenant Governor’s input on

drafting legislation.”). After all, and as courts in this Circuit have consistently held, extending

the legislative privilege to conversations between state legislators and members of the executive

branch would be “inconsistent with the purposes of the privilege: to protect the legislative

branch from ‘intimidation’ by the executive and judicial branches.” LUPE, 2022 WL 1667687,

at *4; see also Gilby, 471 F. Supp. 3d at 767. Accordingly, Abbott cannot invoke the legislative

privilege on this basis, and must produce those documents.

       Regarding the second set of documents—documents purportedly related to calling the

third special session—Abbott’s authority to call a special session does not implicate a legislative

function either. Abbott’s authority to convene a special session comes from article IV of the

Texas Constitution—which outlines the powers of the executive branch. Tex. Const. art. IV, § 8

(providing that the governor “may, on extraordinary occasions, convene the Legislature” in a

special session, and “[h]is proclamation” doing so “shall state specifically the purpose for which

the Legislature is convened”). The authority to call a special session is therefore executive

authority, not legislative: it lies with the governor—a member of the executive branch—and the




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Legislature has no role in convening a special session or crafting the proclamation to call a

special session. Thus, as the Supreme Court of Texas recently emphasized, the power to “call

special legislative sessions belong[s] constitutionally to the Governor, not the Legislature.” In re

Turner, 627 S.W.3d 654, 660 (Tex. 2021) (emphasis added). In calling a special session or

drafting a proclamation for that session, “[t]he Governor has expressed his view on legislative

priorities, as he is entitled to do, but he has not exercised the Legislature’s power” in doing so.

Id. (emphasis added). Indeed, the Legislature is in no way obligated to “address[] any of the . . .

items listed in the Governor’s call” for a special session, id. at 660, and as noted above, Abbott

plays no role in the deliberation or enactment of any legislation during the special session—that

is, in effecting the “Legislative power of the State,” see Tex. Const. art. III, § 1. Thus, the power

to call a special session (an executive function) is distinct from the power to legislate (a

legislative function). See In re Turner, 627 S.W.3d at 659 (noting that the Supreme Court of

Texas has “uniformly held” that “the separation of powers doctrine prohibits one branch of

government from exercising a power belonging inherently to another” (cleaned up)).

Accordingly, Abbott’s role in calling a special session does not implicate a legislative function,

so he cannot invoke the legislative privilege on that basis.

                   3. Even if Abbott Could Invoke the Legislative Privilege, That Privilege
                      Should Yield.

       Even were it applicable, the legislative privilege should yield to the need for discovery

here. To determine whether the privilege should yield, courts in this Circuit and elsewhere have

consistently considered the following five factors: (1) the relevance of the evidence sought to be

protected; (2) the availability of other evidence; (3) the seriousness of the litigation and issues

involved; (4) the role of the government in the litigation; and (5) the possibility of future timidity

by government employees who will be forced to recognize that their secrets are violable. Perez,



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2014 WL 106927, at *2; see also LUPE, 2022 WL 1667687, at *6; Harding v. Cnty. of Dallas,

No. 3:15-CV-0131-D, 2016 WL 7426127, at *3 (N.D. Tex. Dec. 23, 2016); Veasey v. Perry, 2014

WL 1340077, at *2 (S.D. Tex. Apr. 3, 2014). Further, as the Court recently emphasized, the

legislative privilege “must be strictly construed and accepted only to the very limited extent that

permitting a refusal to testify or excluding relevant evidence has a public good transcending the

normally predominant principle of utilizing all rational means for ascertaining the truth.” Dkt.

282 at 2 (quoting Jefferson Cmty., 849 F.3d at 624); see also Perez, 2014 WL 106927, at *2.

       All five factors weigh in favor of disclosure. First, the evidence sought is both relevant

and vital to Plaintiffs’ claims under the Voting Rights Act and the U.S. Constitution. Indeed, in

including the documents in their Supplemental Privilege Log, Defendants concede the relevance

of the documents over which Abbott asserts the legislative privilege. After all, Abbott attempts

to shield documents under the legislative privilege because of their connection to his

proclamation regarding the session in which the challenged redistricting plans were enacted, or

because of their connection to the drafting of the very legislation itself. Thus, Abbott’s

communications about the third special session or the redistricting legislation—and particularly

communications with legislators—certainly bear on the determination of discriminatory purpose,

the effect of discriminatory practices, and the extent to which race played a role in redistricting

decisions. See Gilby, 471 F. Supp. 3d at 766; see also Veasey, 2014 WL 1340077, at *2.

       The second factor—the availability of other evidence—also weighs in favor of

disclosure. As other courts in this Circuit have concluded—including in the context of election

law—this factor “weighs in favor of disclosure ‘given the practical reality that officials seldom,

if ever, announce on the record that they are pursuing a particular course of action because of

their desire to discriminate against a racial minority.’” LUPE, 2022 WL 1667687, at *6 (quoting




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Veasey, 2014 WL 1340077, at *3). Plaintiffs have alleged that the Legislature enacted the

challenged redistricting plans with an intent to discriminate against racial minorities and that

those plans had a discriminatory effect, and Plaintiffs are therefore entitled to examine the most

probative evidence regarding that legislation.

       The third and fourth factors—the seriousness of the litigation and issues involved, and the

role of the government in the litigation—also weigh in favor of disclosure. Defendants have

already acknowledged the “substantial public interest” in redistricting litigation. Dkt. 328 at 4.

And they could not argue otherwise: Plaintiffs “raise serious questions whether [the redistricting

legislation] complies with the Voting Rights Act and the . . . Fourteenth Amendment[].” LUPE,

2022 WL 1667687, at *6; see also Harding, 2016 WL 7426127, at *6; Veasey, 2014 WL

1340077, at *2 (“[T]he importance of eliminating racial discrimination in voting—the bedrock of

this country’s democratic system of government—cannot be overstated.”). And similarly, there

is no question regarding the role of the government in this litigation: the Legislature enacted the

challenged redistricting plans, and by Abbott’s own admission, he was in communication with

legislators regarding the process and substance of the legislation that enacted those plans. See

LUPE, 2022 WL 1667687, at *6 (“As the LULAC Plaintiffs have alleged that the Texas

legislature intentionally discriminated against minority voters, the decisionmaking process . . . is

the case[.]” (quotation omitted)); see also Veasey, 2014 WL 1340077, at *2.

       Finally, there is no possible chilling effect on governmental employees. Texas legislators

and the Office of the Governor have participated in the discovery process—including through

document production, depositions, and trial appearances—associated with redistricting

challenges in dozens of cases for more than five decades of redistricting litigation. See, e.g.,

Bush v. Martin, 251 F. Supp. 484, 495 (S.D. Tex. 1966); Kilgarlin v. Martin, 252 F. Supp. 404,




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423 (S.D. Tex. 1966); Graves v. Barnes, 343 F. Supp. 704, 714 (W.D. Tex. 1972); Seamon v.

Upham, 536 F. Supp. 931, 1023 (E.D. Tex. 1982); In re TXU Elec. Co., 2001 WL 688128, at *1

(Tex. App.—Dallas 2001, no pet. h.); Perez 2014 WL 106927, at *1. And yet, no chilling effect

has occurred, even after courts have previously concluded that the legislative privilege should

yield. See Veasey, 2014 WL 1340077, at *2. In any event, even if this factor weighed against

disclosure, courts have repeatedly found—particularly in the voting rights context—“that the

need for accurate fact finding outweighs any chill to the legislature’s deliberations.” LUPE,

2022 WL 1667687, at *7; see also Veasey, 2014 WL 1340077, at *2; Baldus v. Brennan, No.

11-CV-562, 11-CV-1011, 2011 WL 6122542, at *2 (E.D. Wis. Dec. 8, 2011) (concluding that the

potential “chilling effect” on the state legislature “is outweighed by the highly relevant and

potentially unique nature of the evidence.”).

        Accordingly, the Perez factors strongly favor disclosure, and Plaintiffs’ motion to compel

should be granted as to any document withheld on the basis of the legislative privilege.

            B. Deliberative-Process Privilege

        Abbott also improperly invokes the deliberative-process privilege.7

        First, Abbott inappropriately invokes the deliberative-process privilege over documents

that his office has received or sent to members of the Legislature or their staff.8 However, the

7
 Of the documents Plaintiffs seek, Abbott asserts the deliberative-process privilege over:   DOC_0356555,
DOC_0356556, DOC_0356557, DOC_0356569, DOC_0356571, DOC_0356578,                             DOC_0356579,
DOC_0356580, DOC_0356581, DOC_0356582, DOC_0356583, DOC_0356584,                             DOC_0356585,
DOC_0356586, DOC_0356587, DOC_0356588, DOC_0356590, DOC_0356591,                             DOC_0356592,
DOC_0356593, DOC_0356594, DOC_0356595, DOC_0356596, DOC_0356597,                             DOC_0356598,
DOC_0356599, DOC_0356600, DOC_0356604, DOC_0356606, DOC_0356609, and                         DOC_0356610.
Ex. A.
8
  DOC_0356586, DOC_0356587, DOC_0356588, DOC_0356593, DOC_0356598, DOC_0356600, and
DOC_0356610. Because of their proximity to DOC_0356586 in the Supplemental Privilege Log and the
temporal overlap of the documents, DOC_0356587 and DOC_0356588 appear to be attachments to the
communication in DOC_0356586—and thus were shared with the same individuals and likewise should
be disclosed. Plaintiffs previously asserted that DOC_0356587 and DOC_0356588 were attached to
DOC_0356586, Ex. K at 9, but Abbott failed to confirm or deny whether that was the case.


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“[d]eliberative-process privilege protects candid discussions” only “within the executive branch

needed for optimum administrative decision making.” Gilby, 471 F. Supp. 3d at 767 (emphasis

added). As such, “[t]his rationale does not support privilege for communications where the

agency is not the decision maker and the separation of powers veil has been pierced.” Id. More

specifically, Abbott invokes the deliberative-process privilege over two categories of documents

exchanged between his office and the legislative branch:           (1) documents relating to his

proclamation regarding the third special session, and (2) documents relating to draft redistricting

legislation. Regarding both sets of documents, the “separation of powers veil has been pierced”

because the communication occurred between members of the executive and legislative branch.

Id. And regarding the second set, “[a]t issue here is not the internal decision-making processes

of the executive branch, but instead a part of the legislative process” that, as noted above, falls

outside the purview and constitutional authority of the executive branch. Id. Thus, Abbott

essentially “asks the court to expand deliberative-process privilege to protect legislators’ need for

flexibility to obtain candid input about pending legislation from the Executive Branch,” a

position that “is inconsistent with the purposes of both legislative privilege and

deliberative-process privilege.” Id. at 767-68. Accordingly, the deliberative-process privilege

cannot apply to documents that Abbott has exchanged with the legislative branch.

       Second, the Supplemental Privilege Log fails adequately to support any claim to

deliberative-process privilege. To be protected by deliberative-process privilege, a document

must be “part of a process by which governmental decisions and policies are formulated.” In re

Sealed Case, 121 F.3d 729, 737 (D.C. Cir. 1997) (quoting Carl Zeiss Stiftung v. V.E.B. Carl

Zeiss, Jena, 40 F.R.D. 318, 324 (D.D.C. 1996)). To demonstrate that these requirements are met,

parties claiming deliberative-process privilege generally provide, in addition to a privilege log,




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“declarations from agency officials explaining ‘what the documents are and how they relate to

the [agency] decision.’” Ascom Hasler Mailing Sys., Inc. v. USPS, 267 F.R.D. 1, 4 (D.D.C.

2010) (quoting N.L.R.B. v. Jackson Hosp. Corp., 257 F.R.D. 302, 308 (D.D.C. 2009)); see also

Nevada Partners Fund, LLC v. United States, No. 3:06-cv-379-HTW-MTP, 2008 WL 2484198,

at *5 (S.D. Miss. May 12, 2008) (describing declarations of IRS officials submitted in support of

deliberative-process privilege claims). Here, however, Abbott’s barebones privilege log provides

no clear indication as to which decision any given document supposedly relates, or any

explanation as to why the document was part of the process by which the decision was reached,

rather than, e.g., merely containing factual information or justifying a decision already made.

       Moreover, “the deliberative process privilege may be invoked only by the agency head

after personally reviewing the documents for which the privilege is asserted,” or in some cases

by another high-level official at the agency with delegated authority.            In re McKesson

Governmental Entities Average Wholesale Price Litig., 264 F.R.D. 595, 601 (N.D. Cal. 2009);

see also Nevada Partners Fund, 2008 WL 2484198, at *5 (“[T]he head of the agency that has

control over the requested document must assert the privilege, or in some circumstances,

delegate the authority to assert the privilege.”). This requirement serves to “deter governmental

units from too freely claiming a privilege that is not to be lightly invoked.” McKesson, 264

F.R.D. at 601 (citing Coastal Corp. v. Duncan, 86 F.R.D. 514, 516–17 (D. Del. 1980)). For that

reason, “[m]any courts have found that the deliberative process privilege may not be asserted by

government counsel,” at least counsel outside the relevant agency. Pac. Gas & Elec. Co. v.

United States, 70 Fed. Cl. 128, 135 (2006). Yet the Supplemental Privilege Log contains no

indication that anyone in the Governor’s office, rather than litigation counsel at the Office of the




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Attorney General, made the decision to claim deliberative-process privilege over the documents

at issue. See id.

         Third, Abbott incorrectly invokes the deliberative-process privilege over documents that

followed the enactment of the legislation at issue. For the deliberative-process privilege to apply,

a document must be both “predecisional” and “deliberative.” In re Sealed Case, 121 F.3d at 737;

see also Doe v. City of San Antonio, No. SA-14-CV-102-XR, 2014 WL 6390890, at *2 (W.D.

Tex. Nov. 17, 2014). “A document is ‘predecisional’ if it precedes, in temporal sequence, the

‘decision’ to which it relates.” Senate of the Com. of Puerto Rico on Behalf of Judiciary Comm.

v. United States Dep’t of Just., 823 F.2d 574, 585 (D.C. Cir. 1987). A document is “deliberative”

if “it reflects the give-and-take of the consultative process.” Id. (quotation omitted).

         More specifically, Abbott asserts the deliberative-process privilege over two documents

created in March 2022—well after the enactment of the challenged redistricting plans.9 Those

documents by definition cannot be predecisional, and therefore the privilege cannot apply.

Further, regarding what Abbott describes as a “[c]onfidential communication regarding draft

redistricting legislation” with Lieutenant Governor Dan Patrick,10 at a minimum, Abbott lacks

any constitutional authority over the enactment of legislation.11 Accordingly, because “[a]t issue

here is not the internal decision-making process of the executive branch, but instead a part of the

legislative process,” the deliberative-process privilege cannot apply to the communication

between Abbott and Patrick. Gilby, 471 F. Supp. 3d at 767.

9
    DOC_0356599 and DOC_0356606.
10
     DOC_0356606.
11
  Plaintiffs note that Patrick’s right to assert the legislative privilege is not at issue here: even if he could
invoke that privilege—and he cannot—the privilege would be waived by virtue of communicating with
Abbott regarding pending legislation. See supra, Section III.A.2. Plaintiffs therefore do not concede that
Patrick may assert the legislative privilege, and respectfully reserve the right to challenge Patrick’s ability
to assert the privilege when the issue is ripe for adjudication.


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       Fourth, to the extent that the deliberative-process privilege applies to any documents

Abbott has withheld on that basis, the privilege should yield. As with the legislative privilege,

the deliberative-process privilege “is qualified; not absolute.” Doe, 2014 WL 6390890, at *2.

That means that the deliberative-process privilege “can be overcome ‘by a sufficient showing of

need.’” Harding v. Cnty. of Dallas, No. 3:15-CV-0131-D, 2016 WL 7426127, at *12 (N.D. Tex.

Dec. 23, 2016) (quoting In re Sealed Case, 121 F.3d at 737) (collecting cases); see also Favors,

285 F.R.D. at 210 n.22 (citing Rodriguez, 280 F. Supp. 2d at 98). To determine whether the

deliberative-process privilege should yield, courts consider factors similar to those considered in

evaluating the legislative privilege: (1) the relevance of the evidence, (2) the availability of other

evidence, (3) the seriousness of the litigation, (4) the role of the government, and (5) the

possibility of future timidity by government employees. See In re Sealed Case, 121 F.3d at

737–38; see also Harding, 2016 WL 7426127, at *12; Doe, 2014 WL 6390890, at *2. Further,

“where there is reason to believe the documents sought may shed light on government

misconduct, the privilege is routinely denied, on the grounds that shielding internal government

deliberations in this context does not serve the public’s interest in honest, effective government.”

In re Sealed Case, 121 F.3d at 738 (quotation omitted).

       For    the same reasons as discussed regarding the legislative privilege, the

deliberative-process privilege should yield. See supra, Section II.A.3. That is especially true

given that, over the past five decades, courts have repeatedly concluded that Texas enacted

redistricting legislation with the purpose of discriminating against racial minorities, see, e.g.,

Abbott v. Perez, 138 S. Ct. 2305, 2334 (2018), and the communications regarding the third

special session and drafts of the redistricting litigation would “shed light on” similar

“government misconduct” here, see In re Sealed Case, 121 F.3d at 738.




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         Accordingly, the deliberative-process should yield with respect to all documents Plaintiffs

seek to compel in the instant motion.

            C. Attorney-Client Privilege

         Abbott incorrectly withholds several documents based on the attorney-client privilege.12

         Abbott fails to meet his burden to show that the privilege applies. “Because the

attorney-client privilege has the effect of withholding relevant information from the fact-finder, it

is interpreted narrowly so as to appl[y] only where necessary to achieve its purpose.” ​E.E.O.C. v.

BDO USA, L.L.P., 876 F.3d 690, 695 (5th Cir. 2017) (quotation omitted). To that end, “courts

have stated that simply describing a lawyer’s advice as ‘legal,’ without more, is conclusory and

insufficient to carry out the proponent’s burden of establishing attorney-client privilege,” and that

documents sent from one staff member to another are not privileged “merely because a copy is

also sent to counsel.” Id. at 696. As reflected in the Supplemental Privilege Log, Abbott offers

no more than the same conclusory statement that the documents “[i]nclude[] legal advice from

[Office of the Governor] attorneys on the substance, legal compliance, and strategy of the subject

of the communication,” Ex. A, and gave little more detail in the parties’ final meet and confer,

see Ex. O at 2. Such a boilerplate invocation, especially where asserted simply because a lawyer

may have at some point laid eyes on the document, is insufficient to satisfy the standard for

invoking the privilege under this Circuit’s law. See E.E.O.C., 876 F.3d at 695–96.

         Even if the Court did not consider these privilege assertions conclusory—and they

are—Abbott has still failed to show that the substance of the communications fall within the


12
  Of the documents Plaintiffs seek, Abbott asserts attorney-client privilege over: DOC_356555,
DOC_0356556, DOC_0356557, DOC_0356569, DOC_0356571, DOC_0356578, DOC_0356579,
DOC_0356580, DOC_0356581, DOC_0356582, DOC_0356583, DOC_0356584, DOC_0356585,
DOC_0356586, DOC_0356587, DOC_0356588, DOC_0356590, DOC_0356591, DOC_0356592,
DOC_0356593, DOC_0356594, DOC_0356595, DOC_0356596, DOC_0356597, DOC_0356598,
DOC_0356599, DOC_0356600, DOC_0356604, DOC_0356609, and DOC_0356610. Ex. A.


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scope of the attorney-client privilege. Communications that relay “facts, not legal advice” are

“not privileged,” LUPE, 2022 WL 1667687, at *7, “even if the client learned those facts through

communications with counsel,” id. (quoting Thurmond v. Compaq Comput. Corp., 198 F.R.D.

475, 483 (E.D. Tex. 2000)). Further, “documents concerning ‘advice on political, strategic or

policy issues . . . [are not] shielded from disclosure by the attorney-client privilege.’” Baldus v.

Brennan, No. 11-CV-1011 JPS-DPW, 2011 WL 6385645, at *3 (E.D. Wis. Dec. 20, 2011)

(quoting Evans v. City of Chicago, 231 F.R.D. 302, 312 (N.D. Ill. 2005)); cf. Perez v. Perry, No.

SA-11-CV-360-OLG-JES-XR, 2014 WL 3359324, at *1-2 (W.D. Tex. July 9, 2014) (noting that

attorney-client privilege does not protect communications between legislator and outside counsel

where “the topics of these communications are political in nature”).

         By Abbott’s own characterization, the withheld documents concerned either his

constitutional authority to call a third special session or to issue a proclamation for that session,

or his input on drafts of the redistricting legislation. In other words, all of these documents, at

most, concern “advice on political, strategic or policy issues” and therefore must be disclosed.

Baldus, 2011 WL 6385645, at *3 (quoting Evans, 231 F.R.D. at 312); see also Perez, 2014 WL

3359324, at *1. Further, as Abbott notes, several documents relate to “gathering information on

the expected release of the Census data.”13 Ex. N. As such, by Abbott’s own admission, these

documents relay “facts, not legal advice,” and are therefore “not privileged.” LUPE, 2022 WL

1667687, at *7. Moreover, Abbott cannot “plausibly claim that a threat of litigation existed at

the time of [these] communications,” as they concerned, at most, “legislation that was still being

debated and amended, and the legislation was not guaranteed to pass.” Id. Thus, the documents

over which Abbott asserts the legislative privilege do not fall within the scope of that privilege.


13
  According to the Supplemental Privilege Log, those documents include but are not limited to:
DOC_0356561, DOC_0356569, and DOC_0356599.


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         Further, for many of the documents over which Abbott asserts attorney-client privilege,

that privilege is waived. “Disclosure of attorney-client communications to a third party who

lacks a common legal interest waives the attorney-client privilege,” and the “mere speculation

that” every recipient of a document “shared a cognizable common interest is insufficient to

establish that the privilege applies.” Perez, 2014 WL 3495414, at *2. Moreover, parties have a

“common legal interest” if they are “co-defendants in actual litigation” or “potential”

co-defendants. United States v. Newell, 315 F.3d 510, 525 (5th Cir. 2002). To that end, courts in

this Circuit have emphasized that there is no “Fifth Circuit case law concluding that parties may

have a common legal interest in anything other than ‘actual litigation.’” LUPE, 2022 WL

1667687, at *7 (citing In re Santa Fe Int’l Corp., 272 F.3d 705, 710–13 (5th Cir. 2001)).

         Here, even if it could initially be invoked, the attorney-client privilege has been waived

for documents that reflect communications between the Office of the Governor and individuals

who worked for the legislative branch.14 Abbott has failed to establish that individuals from both

branches shared a common legal interest at the time the communications were made. Indeed,

Abbott has offered no justification for why members of the executive branch and legislative

branch share a common legal interest when, as noted, they are discussing the use of their

respective, independent constitutional authority with each other. See supra, Section III.A.3. And

in any event, Abbott, his office, and individuals in the legislative branch could not “plausibly

claim that a threat of litigation existed at the time of the communications,” because, again, those

“communications concerned,” at most, “advice in drafting legislation that was still being debated

and amended, and the legislation was not guaranteed to pass.” LUPE, 2022 WL 1667687, at *7

14
   DOC_0356560, DOC_0356561, DOC_0356586, DOC_0356587, DOC_0356588, DOC_0356593,
DOC_0356598, DOC_0356600. For the reasons discussed in footnote 8, the Court should conclude that
DOC_0356587 and DOC_0356588 were attached to the communication in DOC_0356586—and
therefore the privilege is similarly waived.



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(emphasis added) (concluding that state legislators could not assert common-interest doctrine to

protect communications regarding election-related legislation from disclosure). Accordingly,

communications between the Office of the Governor and any individual in the legislative branch

over which Abbott asserts the attorney-client privilege are not covered by the privilege.

         Because Abbott has failed to preserve confidentiality over communications that he now

claims as privileged, and did not make any of these communications for a privileged purpose, the

Court should compel disclosure of the documents identified in the instant motion.

            D. Work Product Doctrine

         Finally, Abbott’s assertions of the work product doctrine are also unavailing.15 As with

the legislative, deliberative-process, and attorney-client privileges, courts must strictly construe

the work product doctrine. See Harding, 2016 WL 7426127, at *11. To qualify for protection

under the work product doctrine, “‘the primary motivating purpose’ behind the creation of the

document must be to aid in possible future litigation.” Id. at *10 (quoting In re Kaiser Aluminum

& Chem Co., 214 F.3d 586, 593 (5th Cir. 2000)). “If the document would have been created

without regard to whether litigation was expected to ensue, it was made in the ordinary course of

business and not in anticipation of litigation.” Id. at *11; see also Bethune-Hill v. Virginia State

Bd. of Elections, 114 F. Supp. 3d 323, 348 (E.D. Va. 2015) (“[o]therwise identical work by an

attorney is not protected . . . if it was created in the ordinary course of business.” (quotation

omitted)). Moreover, just as divulging records or communications with third parties waives any

legislative privilege, such sharing also waives any work product protection claim. See, e.g.,


15
  Of the documents Plaintiffs seek, Abbott asserts the work product doctrine over: DOC_356555,
DOC_0356556, DOC_0356557, DOC_0356569, DOC_ 0356571, DOC_0356578, DOC_0356579,
DOC_0356580, DOC_0356581, DOC_0356582, DOC_0356583, DOC_0356584, DOC_0356585,
DOC_0356586, DOC_0356587, DOC_0356588, DOC_0356590, DOC_0356591, DOC_0356592,
DOC_0356593, DOC_0356594, DOC_0356595, DOC_0356596, DOC_0356597, DOC_0356598,
DOC_0356599, DOC_0356600, DOC_0356604, DOC_0356609, and DOC_0356610. Ex. A.


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Finalrod IP, LLC v. John Crane, Inc., No. MO:15-CV-097-DC, 2019 WL 13074600, at *2 (W.D.

Tex. Mar. 22, 2019) (“Generally, when privileged information is divulged to a third party,

attorney-client and work-product protection cease to exist.”).

       In the context of the legislative process, courts have emphasized that “[l]egislative

counsel could not, for example, withhold documents pertaining to pending legislation on the

basis of the work product doctrine because the legislature could always have a reasonable belief

that any of its enactments would result in litigation. That is the nature of the legislative process,”

Bethune-Hill, 114 F. Supp. 3d at 348 (cleaned up), as “it often involves contentious issues that

the public may challenge as unconstitutional,” Baldus, 2011 WL 6385645, at *2; see also

Bethune-Hill, 114 F. Supp. 3d at 348. As such, “materials prepared in the ordinary course of a

party’s business”—for example, the Legislature enacting laws—“even if prepared at a time when

litigation was reasonably anticipated, are not work product.” See Baldus, 2011 WL 6385645, at

*2 (quotation omitted).

       Here, Abbott asserts the work product doctrine over the same two categories of

documents as the other privileges: (1) documents related to calling the third special session and

drafting a proclamation to do so, and (2) documents related to drafts of the redistricting

legislation. The primary purposes of those documents, then, were to call a legislative session or

to provide input to the legislative branch regarding possible legislation—that is, activities in the

ordinary course of business—and Abbott provides no information to show that the primary

purpose of the documents is instead to aid in possible future litigation. See Baldus, 2011 WL

6385645, at *2 (concluding that work product of government-relations specialist at law firm

retained by legislature must be disclosed); see also Bethune-Hill, 114 F. Supp. 3d at 348;

Harding, 2016 WL 7426127, at *11. And to the extent that Abbott has exchanged documents




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with the legislative branch, he has waived any claim he could make to the work product

doctrine.16 Finalrod IP, 2019 WL 13074600, at *2.

         Accordingly, Abbott may not withhold the documents based on the work product

doctrine.

            E. Abbott Must Provide All Documents Referenced in Dropbox

         Finally, the Supplemental Privilege Log makes clear that Abbott has failed to

disclose—or include in the log—all responsive information within his custody, possession, or

control in response to Plaintiffs’ document requests. The descriptions for DOC_0356598 and

DOC_0356600—“Confidential communication from Senate Redistricting Committee regarding

materials related to draft redistricting legislation” and sent by “Senate Redistricting &

Jurisprudence Committee (via Dropbox)”—indicate that the communications contain links to

other documents or folders. Ex. A at 6. However, the Supplemental Privilege Log does not

indicate whether any documents linked to in the communication—i.e., that were accessible “via

Dropbox”—are listed in the log or have been withheld.

         “Rule 34 provides that, subject to the relevancy limitations of Rule 26, a party may serve

on any other party a request ‘to produce . . . items in the responding party’s possession, custody,

or control,’” and “a party can ‘control’ documents that are within the possession or custody of a

non-party.” Perez v. Perry, No. SA-11-CV-360-OLG-JES, 2014 WL 1796661, at *1 (W.D. Tex.

May 6, 2014) (quoting Fed. R. Civ. P. 34(a)(1)(A)). “Documents are considered to be within a

party’s control when that party has the right, authority, or practical ability to obtain the

documents from a nonparty.” Id. (quotation omitted).


16
  DOC_0356560, DOC_0356561, DOC_0356586, DOC_0356587, DOC_0356588, DOC_0356593,
DOC_0356598, DOC_0356600. For the reasons discussed in footnote 8, the Court should conclude that
DOC_0356587 and DOC_0356588 were attached to the communication in DOC_0356586—and
therefore the work product doctrine is similarly waived.


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       In their May 16, 2022 letter, LULAC Plaintiffs and Texas NAACP raised this issue and

sought clarification on whether DOC_0356598 and DOC_0356600 contained links to other

documents, Ex. K at 9–10, but Abbott failed to respond in his Supplemental Privilege Log or his

counsel’s May 25, 2022 email, see Exs. M and N. Nevertheless, from the description in the

Supplemental Privilege Log, it is apparent that the Office of the Governor received links via

Dropbox from legislative staff. And as described above, because Abbott communicated with the

legislative branch about draft legislation, none of the privileges he asserts can justify withholding

those documents. Accordingly, Abbott must produce any document accessible via any Dropbox

link in DOC_0356598 and DOC_0356600—along with listing any other individuals who had

access to those Dropbox links or the documents accessible through those links.

                                      IV.    CONCLUSION

       For the foregoing reasons, Plaintiffs respectfully request that the Court grant their motion

to compel.

Dated: June 27, 2022                          Respectfully submitted,

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                                 Attorney only as to Texas NAACP’s claims related
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                             CERTIFICATE OF CONFERENCE

       I hereby certify that, on June 23 and 24, 2022, counsel for LULAC Plaintiffs, Abuabara

Plaintiffs, and Texas NAACP conferred with counsel for Defendants concerning the subject of

the instant motion. Counsel for Defendants stated that they opposed the relief sought.


                                             /s/ Nina Perales
                                             Nina Perales



                                CERTIFICATE OF SERVICE

       The undersigned counsel hereby certifies that she has electronically submitted a true and

correct copy of the above and foregoing via the Court’s electronic filing system on the 27th day

of June 2022.


                                             /s/ Nina Perales
                                             Nina Perales
